CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 1 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 2 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 3 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 4 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 5 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 6 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 7 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 8 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 9 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 10 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 11 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 12 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 13 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 14 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 15 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 16 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 17 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 18 of 19




                                                                EXHIBIT 1
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-1   Filed 03/13/24   Page 19 of 19




                                                                EXHIBIT 1
